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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11.
In re:

Case No. 09-10982 (PI W)
INDALEX HOLDINGS FINANCE, INC.,
a Delaware Corporation, ef al. (Jointly Administered)

Debtors Ref. Docket No.: 75

 

INTERIM ORDER (1) AUTHORIZING THE DEBTORS (A) TO OBTAIN POST-
PETITION FINANCING UNDER 11 U.S.C. 8§ 105, 361, 362, 364(c)(1), 364(c)(2),
364(c)(3), 364(d)(1) AND 364(e) AND (B) TO UTILIZE CASH COLLATERAL
UNDER 11 U.S.C. § 363, I) GRANTING ADEQUATE PROTECTION
UNDER 11 U.S.C. §§ 361, 362, 363 AND 364 AND (II) SCHEDULING

A FINAL HEARING UNDER BANKRUPTCY RULE 4001(b) AND (c}
Upon the motion (the “Motion”), dated April 7, 2009, of Indalex Holdings

Finance, Inc, (“Holdings”), Indalex Holding Corp, (the “Parent Borrower”) and their affiliated
debtors, each as a debtor and debtor-in-possession (collectively, the “Debtors”), in the above-
captioned chapter 11 cases (the “Cases”) commenced in this Court on March 20, 2009 (the
“Petition Date”), under sections 105, 361, 362, 363, 364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1),
364(e) and 507(b) of title 11 of the United States Code, 11 U.S.C. §§ 101, et seq, (as amended,
the “Bankruptcy Code”), and Rules 2002, 4001 and 9014 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptey Rules”) and Local Rules for the Bankruptcy Court for the District
of Delaware 4001-2 and 2002-1(b) (the “Local Rules”), seeking, among other things:
(1) authorization for Holdings, the Parent Borrower and each of the other
Debtors to enter into the Credit Agreement, dated as of April 8, 2009,
substantially in the form attached as Exhibjt A to the Motion (the “DIP Credit

Agreement”, together with the Domestic Security Agreement dated on or about

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April 8, 2009 (the “DIP Domestic Security Agreement”), the Canadian Security
Agreement dated on or about April 8, 2009, and any other related agreement,
instrument or other document delivered or executed in connection with the DIP
Credit Agreement, the “DIP Documents”), among Holdings, the Parent
Borrower, each of the other Debtors, certain non-debtor affiliates of Holdings
party thereto, JPMorgan Chase Bank, N.A. (“JPMorgan”), as administrative
agent (in such capacity, the “DIP Agent”), and the lenders from time to time
party thereto (collectively, the “DIP Lenders”), in connection with postpetition
financing (the “Financing”) consisting of a senior secured superpriority revolving
credit facility made available to the Parent Borrower and Indalex Limited (the
“Canadian Subsidiary Borrower,” and together with the Parent Borrower, the
“Borrowers”), a non-debtor affiliate of Holdings organized under the laws of
Canada, in the aggregate principal amount of $85,877,371 (it being understood
that the actual available principal amount at any time shall be subject to those
conditions set forth in the DIP Documents and it being further understood that the
aggtegate principal amount available under such facility on an interim basis shall
not exceed $42,500,000, which is inclusive of the Prepetition Obligations and
Cash Collateral Loans (each as defined below));

(2) authorization for the Parent Borrower to guarantee the obligations of
the Canadian Subsidiary Borrower under the DIP Credit Agreement and for each
of the other Debtors (together with the Parent Borrower, solely in its capacity as

guarantor of the obligations of the Canadian Subsidiary Borrower under the DIP

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Credit Agreement, the ““Guarantors”) to guarantee each of the Borrowers’
obligations under the DIP Credit Agreement;

(3) authorization for the Debtors to execute and enter into the DIP
Documents and to perform such other and further acts as may be required in
connection with the DIP Documents;

(4) authorization for the Debtors to convert the Prepetition Obligations (as
defined below) into DIP Obligations (as defined below) on the terms and
conditions set forth in the DIP Credit Agreement, the other DIP Documents, this
Order and the Final Order (cach as defined herein);

(5) authorization for the Debtors to use the Cash Collateral (as defined
below) and any other Prepetition Collateral (as defined below) in which the
Prepetition Secured Parties (as defined below) have an interest;

(6) the granting of adequate protection to the Prepetition Secured Parties
with respect to any diminution in the value of the Prepetition Secured Parties’
interests in the Prepetition Collateral, whether from the use of the Cash Collateral,
the use, sale, lease, depreciation or other diminution in value of the Prepetition
Collateral, the priming of their liens or as a result of the imposition of the
automatic stay under section 362(a) of the Bankruptcy Code;

(8) approval of certain stipulations by the Debtors with respect to the
Prepetition Credit Agreement (as defined below) and the claims, liens and

security interests arising therefrom;

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- (9) subject only to and effective upon entry of the Final Order (as defined
below), the limitation of the Debtors’ right to surcharge against collateral under
section 506(c) of the Bankruptcy Code;

(10) under Bankruptcy Rule 4001 and Local Rule 4001-2, an interim
hearing (the “Interim Hearing”) on the Motion for the proposed interim order
annexed to the Motion (this “Order”) (i) authorizing the Borrowers, on an interim
basis, to forthwith borrow from the DIP Lenders under the DIP Documents up to
an agerepate principal or face amount not to exceed $42,500,000 (subject to any
limitations on borrowings under the DIP Documents), (ii) authorizing the
Debtors’ use of Cash Collateral and (iii) granting the adequate protection
described herein; and

(11) a final hearing (the “Final Hearing”) to be held within 30 days after
entry of this Order to consider entry of a final order (the “Final Order”)
authorizing the balance of the borrowings under the DIP Documents on a final
basis, as set forth in the Motion and the DIP Documents filed with this Court.

The Debtors having served notice pursuant to sections 102(1); 363 and 364 of the
Bankruptcy Code and Bankruptcy Rule 4001(b) and Local Rule 2002-1(b), of the Motion, the
relief requested therein and the Interim Hearing on, among others, the thirty largest unsecured
creditors of the Debtors, on a consolidated basis, the DIP Agent, the DIP Lendets, the Prepetition
Agent, the Prepetition Indenture Trustee, the other Prepetition Secured Parties, the Official
Committee of Unsecured Creditors and the Office of the United States Trustee for the District of

Delaware;

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the Interim Hearing having been held by this Court on April 8, 2009; and

upon the record made by the Debtors at the Interim Hearing, the record in these Cases
and the Declaration of Timothy R. J. Stubbs in support of Chapter 11 Petitions and First Day
Relief and after due deliberation and consideration and sufficient cause appearing therefor:

IT IS FOUND, DETERMINED, ORDERED AND ADJUDGED, that:

LL Disposition. The Motion is granted on an interim basis on the terms set forth :
herein, Any objections to the interim relief sought in the Motion that have not been previously
resolved or withdrawn are overruled on the merits. This Order shall be valid, binding and
enforceable on all parties in interest and fully effective immediately upon entry,

2. Jurisdiction and Venue. This Court has jurisdiction over the Cases and the
Motion as a core proceeding and over the parties and property affected hereby under 28 U.S.C.
§§ 157(b) and 1334. Venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409, No
request has been made for the appointment of a trustee or examiner. On April 1, 2009, the United
States Trustee appointed the Official Committee of Unsecured Creditors in these Cases (the
“Creditors’ Committee”).

3. _ Notice. Notice has been given by the Debtors of the Motion and the Interim |
Hearing pursuant to Bankruptcy Rule 4001(b) and Local Rule 4001-2.

4, Prepetition Secured Facilities. As of the Petition Date, the Debtors were party
to the following agreements:

(a) the Amended and Restated Credit Agreement, dated as of May 21, 2008
(as amended, supplemented or otherwise modified prior to the Petition Date, the “Prepetition

Credit Agreement”), among Holdings, the Borrowers, the other subsidiaries of the Parent

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Borrower party thereto, the lenders party thereto (such lenders that made revolving extensions of
credit under the Prepetition Credit Agreement, collectively, the “Prepetition Revolving
Lenders”; and Sun Capital Partners, Inc. or any affiliate thereof (the “Prepetition Term
Lender,” together with the Prepetition Revolving Lenders, the “Prepetition Lenders”) that
made term loans under the Prepetition Credit Agreement (the “Prepetition Term Loans”)) and
JPMorgan, as administrative agent (in such capacity, the “Prepetition Agent”);

~@)_—s Amendment No. 2, Waiver and Agreement, dated as of March 6, 2009
(“Amendment No. 2”), among Holdings, the Borrowers, each of the other Debtors party thereto,
certain non-debtor affiliates of Holdings party thereto, the Prepetition Lenders and the
Prepetition Agent;

(c) the Amended and Restated Domestic Security Agreement, dated as of
May 21, 2008 (as amended, supplemented or otherwise modified prior to the Petition Date, the
“Domestic Security Agreement”) among Holdings, the Parent Borrower, the subsidiaries of
Holdings party thereto and the Prepetition Agent;

(d) the Canadian Security Agreement, dated as of February 2, 2006 (as
amended, supplemented or otherwise modified prior to the Petition Date, the “Canadian
Security Agreement”; together with the Domestic Security Agreement, any and ail other
security agreements, pledge agreements, fixture filings, mortgages, hypothees, deeds of trust,
control agreements, financing statements and any and all other collateral and ancillary
documentation executed or delivered in connection therewith, the “Prepetition Security
Documents”) among Holdings, the Canadian Subsidiary Borrower, the subsidiaries of Holdings

party thereto and the Prepetition Agent;

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(e) the Indenture, dated as of February 2, 2006 (as amended, supplemented or
otherwise modified prior to the Petition Date, the “Prepetition Indenture”), among the Parent
Borrower, each note guarantor from time to time party thereto and U.S. Bank National
Association, a national banking association, as indenture trustee (the “Prepetition Indenture
Trustee”) in respect of the $270 million of 114% Notes due 2014 (the holders of such notes, the
“Prepetition Secured Noteholders”; together with the Prepetition Agent, the Prepetition
Revolving Lenders, the Prepetition Term Lender and the Prepetition Indenture Trustee, the
“Prepetition Secured Parties”); and

(f) the Intercreditor Agreement, dated as of February 2, 2006 (as amended,
supplemented or otherwise modified prior to the Petition Date, the “Intercreditor Agreement”),
among the Prepetition Agent, the Prepetition Indenture Trustee, Holdings and each subsidiary of
Holdings party thereto. .

5. Interim Cash Collateral Order. On March 23, 2009, the Bankruptcy Court
entered the Interim Order (1) Authorizing the Use of Prepetition Lenders’ Cash Collateral Under
11 US.C. § 363, (II) Granting Adequate Protection Under 11 U.S.C. $§ 361, 363 and 364 and
(IID) Scheduling a Final Hearing Under Bankruptcy Rule 4001(b) and (c) (the “Interim Cash
Collateral Order”), As of the date hereof, the Borrowers were indebted and liable to the
Prepetition Agent and the Prepetition Revolving Lenders in respect of “Cash Collateral Loans”
(as defined in the Interim Cash Collateral Order) in the aggregate principal amount of not less
than $13,060,271.98 (plus accrued and unpaid interest thereon), and each other Debtor was
contingently liable to the Prepetition Agent arid the Prepetition Revolving Lenders in an

aggregate amount not less than the outstanding amount of Cash Collateral Loans (plus accrued

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and unpaid interest thereon). The validity, priority and enforceability of (i) any Cash Collateral
Loan or “Adequate Protection Obligation” (as defined, solely for the purposes of this sentence, in
the Interim Cash Collateral Order) incurred under the Interim Cash Collateral Order and (ii) any
“Postpetition Lien” or “Adequate Protection Lien” (as each such term is defined, solely for the
purposes of this sentence, in the Interim Cash Collateral Order) authorized or created by or
pursuant to the Interim Cash Collateral Order, in each case shall remain in full force and effect
and be unimpaired and otherwise unaffected by this Order.

6. Debtors’ Stipulations. Without prejudice to the rights of any other party (but
subject to the limitations thereon contained in paragraphs 20 and 21), the Debtors admit, stipulate
and agree that:

(a) as of the Petition Date, (i) each of the Borrowers was indebted and liable
to the Prepetition Agent and the Prepetition Revolving Lenders, without defense, counterclaim or
offset of any kind, in respect of revolving loans and bankers’ acceptances made by the
Prepetition Revolving Lenders to the Borrowers under the Prepetition Credit Agreement in the
aggregate principal amount of not less than $64,168,106.94 (it being understood that such
amount is subject to fluctuation based on currency exchange rates) (plus accrued and unpaid
interest thereon), (ii) each of the Borrowers was contingently liable to the issuing banks under
the Prepetition Credit Agreement and the Prepetition Revolving Lenders in the aggregate face
amount of not less than $8,242,984.00 on account of the Borrowers’ reimbursement obligations
with respect to letters of credit issued under the Prepetition Credit Agreement, which remained
outstanding as of the Petition Date, (iii) cach of the Borrowers was indebted and liable to the

Prepetition Agent and the Prepetition Revolving Lenders for fees, expenses (including any

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attorneys’, accountants’, appraisers’ and financial advisors’ fees that are chargeable or
reimbursable under the Prepetition Credit Agreement, the Prepetition Security Documents,
Amendment No. 2 or any related agreement, instrument or other document executed or delivered
in connection therewith (collectively, the “Prepetition Loan Documents”)), charges and other
obligations incurred in connection with such loans, bankers’ acceptances and letters of credit as
provided in the Prepetition Loan Documents, (iv) the Debtors were liable to certain of the
Prepetition Revolving Lenders or their affiliates in respect of Swap Obligations (as defined in the
Prepetition Credit Agreement), (v) the Debtors were indebted to the Prepetition Revolving
Lenders or their affiliates for Banking Services Obligations (as defined in the Prepetition Credit
Agreement) (items (i) through (v), collectively, the “Prepetition Obligations”) and (vi) each
Debtor party to a guaranty executed and delivered in respect of the Prepetition Obligations was
contingently liable to the Prepetition Agent and the Prepetition Revolving Lenders under each
such guaranty in the aggregate amount of not less than the aggregate amount of the Prepetition
Obligations;

{b) the Prepetition Loan Documents and the Prepetition Obligations
constitute the legal, valid: and binding obligations of the Debtors, enforceable in accordance with
their terms (other than in respect of the stay of enforcement arising from section 362 of the
Bankruptcy Code), and no portion of the Prepetition Obligations is subject to avoidance,
recharacterization, reduction, disallowance, impairment, recovery or subordination under the
Bankruptcy Code or applicable nonbankruptcy law;

{c) the Debtors do not have any claims, counterclaims, causes of action,

defenses or setoff rights, whether arising under the Bankruptcy Code or otherwise, against the

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Prepetition Agent, the Prepetition Revolving Lenders or their respective affiliates, subsidiaries,
members, agents, officers, directors, employees and attorneys;

(d) as of the Petition Date, (i) each of the Borrowers was indebted and liable
to the Prepetition Term Lender, without defense, counterclaim or offset of any kind, in respect of
term loans made by the Prepetition Term Lender to the Borrowers under the Prepetition Credit
Agreement in the aggregate principal amount of not less than $30,275,416.66 (plus accrued and
unpaid interest thereon), (ii) each of the Borrowers was indebted and liable to the Prepetition
Term Lender for fees, expenses (including any attorneys’, accountants’, appraisers’ and financial
advisors’ fees that are chargeable or reimbursable under the Prepetition Loan Documents,
charges and other obligations incurred in connection with such term loans (items (1) through (iii),
collectively, the “Prepetition Term Obligations”) and (iv) each Debtor party to a guaranty
executed and delivered in respect of the Prepetition Term Obligations was contingently liable to
the Prepetition Term Lenders under each such guaranty in the aggregate amount of not less than
the aggregate amount of the Prepetition Term Obligations,

(e) the Prepetition Loan Documents and the Prepetition Term Obligations
constitute the legal, valid and binding obligations of the Debtors, enforceable in accordance with
their terms (other than in respect of the stay of enforcement arising from section 362 of the
Bankruptcy Code), no portion of the Prepetition Term Obligations is subject to avoidance,
recharacterization, reduction, disallowance, impairment, recovery or subordination under the
Bankruptcy Code or applicable nonbankruptcy law;

(f) the Debtors do not have any claims, counterclaims, causes of action,

defenses or setoff rights, whether arising under the Bankruptcy Code or otherwise, against the

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Prepetition Term Lenders or their respective affiliates, subsidiaries, members, agents, officers,
directors, employees and attorneys;

(g) ‘the liens and security interests granted to the Prepetition Agent (for the
ratable benefit of the holders of the Prepetition Obligations and Prepetition Term Obligations)
under and in connection with the Prepetition Security Documents are valid, binding, perfected,
enforceable, first-priority liens on the personal and real property described in each such
Prepetition Security Document (together with the setoff rights described in the Existing
Documents (as defined below) and arising by operation of law, the “Prepetition Collateral”),
not subject to avoidance, recharacterization or subordination under the Bankruptcy Code or
applicable nonbankruptcy law and subject and subordinate only to (A) the DIP Liens (as defined
below), (B) the Adequate Protection Liens (as defined below), (C) the Carve Out (as defined
below) and (D) valid, perfected and unavoidable liens permitted under the Prepetition Loan
Documents to the extent such liens are permitted to be senior to or pari passu with the liens of
the Prepetition Agent on the Prepetition Collateral; and

(h) the aggregate value of the Prepetition Collateral exceeds the aggregate
amount of the Prepetition Obligations and the Prepetition Term Obligations.

7. Findings Regarding the Financing.

(a) Good cause has been shown for issuance of this Order.

(b) The Debtors do not have available sources of working capital and
financing to carry on the operation of their businesses without obtaining the Financing and the
use of the Cash Collateral. The Debtors have an immediate need to obtain the Financing and use

the Cash Collateral to permit, among other things, the orderly continuation of the operation of

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their businesses, to maintain business relationships with vendors, suppliers and customers, to
make payroll, to make capital expenditures and to satisfy other working capital and operational
needs, The access of the Debtors to sufficient working capital and liquidity through the use of
Cash Collateral, incurrence of new indebtedness for borrowed money and other financial
accommodations is vital to the preservation and maintenance of the going concern values of the
Debtors and to a successful reorganization of the Debtors,

(c) The Debtors are unable to obtain financing on more favorable terms from
sources other than the DIP Lenders under the DIP Documents and are unable to obtain adequate
unsecured credit allowable under section 503(b)(1) of the Bankruptcy Code as an administrative
expense. The Debtors are also unable to obtain secured credit allowable under sections
364(c\(1), 364(c)(2) and 364(c)(3) of the Bankruptcy Code for the purposes set forth in the DIP
Credit Agreement without the grant of priming liens and superpriority claims as set forth herein
and the application of collateral proceeds to the Prepetition Obligations as set forth herein.

(d) Based on the record presented to the Court at the Interim Hearing, the
terms of the Financing and the use of Cash Collateral are fair and reasonable, reflect the Debtors’
prudent exercise of business judgment consistent with their fiduciary duties and constitute
reasonably equivalent value and fair consideration.

(e) The Financing and the use of the Cash Collateral have been negotiated in
good faith and at arm’s length among the Debtors, the DIP Agent, the DIP Lenders and the
Prepetition Agent, and all of the Debtors’ obligations and indebtedness arising under, in respect
of or in connection with the Financing and the DIP Documents, including without limitation, (i)

all loans made to, and all letters of credit deemed issued for the account of, the Borrowers under

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the DIP Credit Agreement and (ii) any “Secured Obligations” (as defined in the DIP Credit
Agreement), including credit extended in respect of overdrafts and related liabilities and other
depository, treasury, and cash management services and other clearing services provided by the
DIP Agent, any DIP Secured Party (as defined below) or their respective affiliates (all of the
foregoing in clauses (i) and (ii) collectively, the “DIP Obligations”), shall be deemed to have
been extended by the DIP Agent, such DIP Secured Party and their affiliates in good faith, as
that term is used in section 364(e) of the Bankruptcy Code and in express reliance upon the
protections offered by section 364(e) of the Bankruptcy Code, and the DIP Obligations, the DIP
Liens (as defined below) and the Superpriority Claims (as defined below) shall be entitled to the
full protection of section 364(e) of the Bankruptcy Code in the event that this Order or any
provision hereof is vacated, reversed ot modified, on appeal or otherwise. For purposes of this
Order, the “DIP Obligations” shall include the Cash Collateral Loans (plus accrued and unpaid
interest thereon) made under the Interim Cash Collateral Order outstanding as of the date hereof.
(f) The Debtors have requested immediate entry of this Order under
Bankruptcy Rule 4001 (b)(2) and 4001(c)(2) and Local Rule 4001 2. Absent granting the relief

sought by this Order, the Debtors’ estates will be immediately and irreparably harmed.

_ Consummation of the Financing and authorization of the use of Cash Collateral in accordance

with this Order and the DIP Documents is therefore in the best interest of the Debtors’ estates
consistent with their fiduciary duties.
8. Authorization of the Financing and the DIP Documents.
(a) The Debtors are hereby authorized to enter into the DIP Documents. The

Parent Borrower is hereby authorized to borrow money and, subject to and effective upon entry

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of the Final Order, amend, extend or renew letters of credit pursuant to the DIP Credit
Agreement in such amounts as may be made available to the Parent Borrower by the DIP Agent
and the DIP Lenders in accordance with all of the lending formulae, sublimits and other terms
and conditions set forth in the DIP Documents and this Order; provided, that pending entry of the
Final Order, the aggregate principal amount of the extensions of credit made under the DIP
Credit Agreement outstanding at any time shall not exceed $42,500,000 (plus interest, fees and
other expenses and amounts provided for in the DIP Documents) (excluding amounts in respect
of the Prior Swap (as defined in the DIP Credit Agreement)), which amount is inclusive of the
Prepetition Obligations and Cash Collateral Loans outstanding under the Interim Cash Collateral
Order as of the date of this Order. The Guarantors are hereby authorized to guarantee such
borrowings and the Borrowers’ obligations under the DIP Credit Agreement and the other DIP
Documents, in accordance with the terms of this Order and the DIP Documents. The proceeds
of any revolving loans made under the DIP Credit Agreement shall be used for the purposes, and
subject to the terms and conditions, set forth in the DIP Credit Agreement and the other DIP
Documents. In addition to such loans and obligations, the Debtors are authorized to incur
overdrafts and related liabilities arising from treasury, depository and cash management services
including any automated clearing house fund transfers provided to or for the benefit of any of the
Debtors by the DIP Agent, the DIP Lenders or any of their respective affiliates; provided that
nothing herein shall require the DIP Agent, any DIP Lender or any of their respective affiliates to
incur overdrafts or to provide such services or functions to the Debtors.

(b) ‘In furtherance of the foregoing and without further approval of this Court,

each Debtor is authorized and directed to perform all acts, to make, execute and deliver all

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instruments and documents (including, without limitation, the execution or recordation of

security agreements, pledge agreements, fixture filings, mortgages, hypothecs, deeds of trust,

control agreements and financing statements), and to pay all fees that may be reasonably

required or necessary for the Debtors’ performance of their obligations under the DIP

Documents, including, without limitation:

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(i) the execution, delivery and performance of the DIP Credit
Agreement and the other DIP Documents, any security agreements, pledge
agreements, fixture filings, mortgages, hypothecs, deeds of trust, control
agreements, financing statements contemplated thereby and any exhibits attached.
thereto,

(ji) the non-refundable payment to the DIP Agent or the DIP Lenders,
as the case may be, of the fees referred to in the DIP Credit Agreement (and in the
separate letter agreements between the DIP Agent and the Debtors party thereto in
connection with the Financing) and reasonable costs and expenses as may be due
from time to time, including, without limitation, fees and expenses of the
professionals retained as provided for in the DJP Documents; provided that the
Debtors shall provide to the Creditors* Committee and the Office of the United
States Trustee immediately upon receipt thereof a copy of any invoice for the

payment of professional fees and expenses incurred after the Effective Date and

' such invoice shail be subject to the procedures for review and objection set forth

in paragraph 15(c),

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(ii) the execution, delivery and performance of one or more
amendments, waivers, consents or other modifications to the DIP Credit
Agreement or the other DIP Documents (it being understood that no further
approval of the Court shall be required for amendments, waivers, consents or
other modifications to and under the DIP Credit Agreement or the other DIP
Documents (or any fees paid in connection therewith) (x) to make any non-
material amendments or modifications to the DIP Credit Agreement or any other
DIP Documents or (y) to make any material amendment or material modification
to the DIP Credit Agreement or any other DIP Document; provided that notice of
any material modification or material amendment to any of the DIP Documents
shall be filed with the Bankruptcy Court and served by the Debtors on the
Creditors’ Committee and the U.S. Trustee, and the Creditors’ Committee and the

U.S. Trustee shall have five business days from the date of such filing within

which to object in writing to such proposed modification or amendment; provided

further that if the Creditors’ Committee or the U.S. Trustee timely objects to any
such modification or amendment to the DIP documents, then such modification or
amendment shall only be permitted pursuant to an order of this Court after notice
and a hearing, For purposes hereof, a “material” modification shall mean any
modification that operates to (1) shorten the maturity of the extensions of credit
under the DIP Documents, (2) increase the aggregate amount of any of the
commitments thereunder, (3) increase the rate of interest or any other fees or

charges payable thereunder (other than to the extent contemplated in the DIP

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Documents as in effect on the date hereof) or (4) otherwise modify the DIP

Documents in a manner materially less favorable to the Debtors and their estates),

and

(iv) the performance of all other acts required under or in connection
with the DIP Documents,

(c) Upon execution and delivery of the DIP Documents, the DIP Documents
shall constitute valid and binding obligations of each of the Debtors, enforceable against each
Debtor party thereto in accordance with their respective terms and the terms of this Order for all
purposes during the Cases, any subsequently converted case of any Debtor under chapter 7 of the
Bankruptcy Code of after the dismissal of any Case. No obligation, payment, transfer or grant of
~ security under any DIP Document or this Order shall be stayed, restrained, voidable, avoidable
or recoverable under the Bankruptcy Code or under any applicable law (including without
limitation, under sections 502(d), 548 or 549 of the Bankruptcy Code or under any applicable
state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or
common law), or subject to any defense, reduction, setoff, recoupment or counterclaim,

9. Conversion of Cash Collateral Loans and Prepetition Obligations; Application
of Collateral Proceeds.

(a) As of the “Effective Date” (as defined in the DIP Credit Agreement), any
and all outstanding Cash Collateral Loans made under the Interim Cash Collateral Order shall be
deemed to have been converted into U.S. Revolving Loans or Canadian Revolving Loans, as the
case may be, initially bearing interest at a rate determined by reference to the Altemate Base
Rate (as such terms are defined in the DIP Credit Agreement) made to the Parent Borrower or

the Canadian Subsidiary Borrower, as the case may be, and thereafter, such Cash Collateral

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Loans, the interest payable thereon and the other terms and conditions thereof shall be governed
by the DIP Credit Agreement.

(b) Subject to and effective upon entry of the Final Order, (i) any Prepetition |
Obligations that have not been converted as of the date of entry of the Final Order to DIP
Obligations shall be deemed to be converted to a DIP Obligation outstanding under the DIP
Credit Agreement and (ii) any such conversion is hereby authorized as compensation for, in
consideration for, and solely on account of, the agreement of the DIP Lenders to make new
extensions of credit under the DIP Credit Agreement.

(c) The Debtors are authorized and directed to remit to the DIP Agent
immediately upon the Debtors’ receipt thereof or otherwise in accordance with the Debtors’
current practices all Cash Collateral in its possession or control arising from, or constituting
proceeds of, the Collateral (including Prepetition Collateral) and all Cash Collateral so remitted
shall be applied, first, to the Prepetition Obligations, until such Prepetition Obligations are
indefeasibly paid in full and completely satisfied, and then to the DIF Obligations, The DIP
Agent is hereby authorized, as of the Effective Date, to (i) send a notice to each Receivables
Account Bank (as defined in the DIP Domestic Security Agreement) to commence a period
during which the applicable Receivables Account Bank shall cease complying with any
instructions originated by any applicable Debtor and shall comply with instructions originated by
the DIP Agent directing dispositions of funds, without further consent of the applicable Debtor,
and (ji) apply (and allocate) the funds in each Receivables Account (as defined in the DIP
Domestic Security Agreement) pursuant to sections 2,09(b) and (c) of the DIP Credit Agreement

without further order or approval of this Court. Each Receivables Account Bank is hereby

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authorized to comply with any instructions originated by the DIP Agent on or after the Effective
Date directing disposition of funds, without further consent of the applicable Debtor or further
order or approval of this Court, and is further authorized to comply with any instructions
delivered by the DIP Agent or the Prepetition Agent to such Receivables Account Bank prior to
the Effective Date directing disposition of funds, without further consent of the applicable
Debtor or further order or approval of this Court. As of the Effective Date, each “Deposit
Account Control Agreement” and “Receivables Account Control Agreement” (as each such term
is defined in the Domestic Security Agreement) will continue and remain in full force and effect,
in each case substituting the DIP Agent as the secured party thereunder in place of the
Prepetition Agent. The automatic stay is hereby modified and vacated to permit such actions as
contemplated by this paragraph 9. Except as otherwise provided herein or in the “first day”
order relating thereto, the Debtors shall maintain their pre-Petition Date cash management and
accounts receivable collection system, including the Collateral Accounts (as defined below)
associated therewith.

10, Superpriority Claims,

(a) Pursuant to section 364(c)(t) of the Bankruptcy Code, all of the DIP

Obligations shall constitute allowed senior administrative expense claims against the Debtors
with priority over any and all administrative expenses, diminution claims (including all Adequate
Protection Obligations (as defined below)) and all other claims against the Debtors, now existing
or hereafter arising, of any kind whatsoever, including, without limitation, all administrative
expenses of the kind specified in sections 503(b) and 507(b) of the Bankruptcy Code, and over

any and all administrative expenses or other claims arising under sections 105, 326, 328, 330,

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331, $03(b), 506(c) (subject to entry of a Final Order), 507(a), 507(b), 546, 726, 1113 or 1114 of
the Bankruptcy Code, and shall at all times be senior to the rights of the Debtors, any successor
trustee or any creditor, in these Cases or any subsequent proceedings under the Bankruptcy Code
(the “Superpriority Claims”), whether or not such expenses or claims may become secured by a
judgment lien or other non-consensual lien, levy or attachment, which allowed claims shall be
payable from and have recourse to all pre- and postpetition property of the Debtors and all
proceeds thereof, subject only to the payment of the Carve Out to the extent specifically provided
for herein.

(b) For purposes of this Order, the “Carve Out” means (i) the unpaid fees and
interest due and payable to the Clerk of the Bankruptey Court and the Office of the United States
Trustee pursuant to 28 U.S.C. § 1930; (ii) all reasonable fees and expenses incurred by a trustee
under section 726(b) of the Bankruptey Code in an amount not exceeding $25,000 in the
ageregate; and (iii) after the occurrence of an “Event of Default” (as defined in the DIP Credit
Agreement), the payment of allowed and unpaid professional fees and disbursements incurred
after the occurrence of such Event of Default by (a) the Debtors in an amount not to exceed
$750,000 (but excluding any fees incurred on behalf of Jefferies & Company, Inc., which fees
shall be payable upon consummation of a sale or transaction as governed by the terms of the
engagement approved by the Court) and (b) the Creditors’ Committee in an aggregate amount
not to exceed $250,000 (in each case, other than any such fees and disbursements incurred in
connection with the initiation or prosecution of any claims, causes of action, adversary
proceedings or other litigation against the Prepetition Agent or the Prepetition Revolving

Lenders); provided (a) that the dollar limitation in this clause (iii) on fees and expenses shall

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neither be reduced nor increased by the amount of any compensation or reimbursement of
expenses incurred, awarded. ot paid before the occurrence of an Event of Default in respect of
which the Carve Out is invoked or by any fees, expenses, indemnities or other amounts paid to
the Prepetition Agent, Prepetition Lenders or their respective attorneys and agents, and (b) that
nothing herein shall be construed to prejudice any objection to any of the fees, expenses,
reimbursement or compensation described in clauses (x) and (y) above.

11. DIP Liens.

As security for the DIP Obligations, effective and perfected upon the Effective Date and
without the necessity of the execution or recordation of filings by the Debtors, of security
agreements, pledge agreements, fixture filings, mortgages, hypothecs, deeds of trust, control
agreements, financing statements or other similar documents, or the possession or control by the
DIP Agent, any DIP Lender or any other “Secured Parties” (as such term is defined in the DIP
Domestic Security Agreement, hereinafter referred to as the “DIP Secured Parties”) of, or over,
any DIP Collatera! (as defined below), the following security interests and liens are hereby
granted to the DIP Agent for its own benefit and the benefit of the DIP Secured Parties (all
property identified in clauses (a), (b) and (c) below being collectively referred to as the “DIP
Collateral”), subject only to the payment of the Carve Out as set forth in this Order (all such
liens and security interests granted to the DIP Agent, for its benefit and for the benefit of the DIP
Secured Parties, pursuant to this Order and the DIP Documents, the “DIP Liens”):

(a) First Lien on Cash Balances and Unencumbered Property. Pursuant to
section 364(c)(2) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-

perfected first priority senior security interest in and lien upon all pre- and postpetition property

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of the Debtors, wherever located, whether existing on the Petition Date or thereafter acquired,
that, on or as of the Petition Date is not subject to valid, perfected and non-avoidable liens
(collectively, “Unencumbered Property”), including without limitation, any and all cash and
cash collateral of the Debtors (whether maintained with the DIP Agent or otherwise) and any
investment of such cash and cash collateral and any and all inventory, accounts receivable, any
other right to payment whether arising before or after the Petition Date, contracts, properties,
plants, equipment, general intangibles, documents, instruments, interests in leasehoids, real
properties, patents, copyrights, trademarks, trade names, other intellectual property, capital stock
of subsidiaries and the proceeds of all the foregoing. Unencumbered Property shall not include
the Debtors’ claims and causes of action under sections 502(d), 544, 345, 547, 548, 549, 550 and
553 of the Bankruptcy Code and any other avoidance actions under the Bankruptcy Code
(collectively, “Avoidance Actions”); provided that, subject to and effective upon entry of the
Final Order, Unencumbered Property shall include the proceeds of Avoidance Actions and
property received thereby whether by judgment, settlement or otherwise.

(b) Liens Priming Prepetition Secured Parties’ Liens. Pursuant to
section 364(d)(1) of the Bankruptcy Code, a valid, binding, continuing, enforceable, fully-
perfected first priority senior priming security interest in and lien upon all pre- and postpetition
property of the Debtors (including, without limitation, Cash Collateral), inventory, accounts
receivable, any other right to payment whether arising before or after the Petition Date, contracts,
properties, plants, equipment, general intangibles, documents, instruments, interests in
leaseholds, real properties, patents, copyrights, trademarks, trade names, other intellectual

property, capital stock of subsidiaries, and the proceeds of all the foregoing), wherever located

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and whether now existing or hereafter acquired, that is presently subject to any lien or security
interest granted to (a) the Prepetition Agent (for the ratable benefit of the “Secured Parties” (as
such term is defined in the Domestic Security Agreement but excluding the Prepetition Term
Lender, hereinafter referred to as the “Prepetition Revolving Secured Parties”)) under and in
connection with any Prepetition Security Document (the “Prepetition Revolving Lender
Liens”), (b) the Prepetition Agent (for the benefit of the Prepetition Term Lender) under and in
connection with any Prepetition Security Document (the “Prepetition Term Lender Liens”)
and (c) the Prepetition Indenture Trustee (for the ratable benefit of the Prepetition Secured
Noteholders) under and in connection with the Prepetition Indenture (and any security
documents related thereto) (the “Prepetition Secured Noteholder Liens”) (the Prepetition
Revolving Lender Liens, the Prepetition Term Lender Liens and the Prepetition Secured
Noteholder Liens collectively, the “Prepetition Liens”), Such security interests and liens shall
be senior in ali respects to the interests in such property of the Prepetition Secured Parties arising
from current and future liens of the Prepetition Secured Parties (including, without limitation,
Adequate Protection Liens (as defined below) granted hereunder as adequate protection), but
shall not be senior to any valid, perfected and unavoidable interests of other parties arising out of
liens, if any, on such property existing immediately prior to the Petition Date, or to any valid,
perfected and unavoidable interests in such property arising out of liens to which the liens of the
Prepetition Secured Parties become or became subject to subsequent to the Petition Date as
permitted by section 546(b) of the Bankruptcy Code.

(c) Liens Junior to Certain Other Liens. Pursuant to section 364(c)(3) of the

Bankruptcy Code, a valid, binding, continuing, enforceable, fully-perfected security interest in

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and lien upon all pre- and postpetition property of the Debtors (other than the property described
in clauses (a) or (b) of this paragraph 11, as to which the liens and security interests in favor of |
the DIP Agent will be as described in such clauses), whether now existing or hereafter acquired,
that is subject to valid, perfected and unavoidable liens in existence immmediately prior to the
Petition Date (other than the Prepetition Liens, which shall be governed by paragraph 11(b)) or
to valid and unavoidable liens in existence immediately prior to the Petition Date that are
perfected subsequent to the Petition Date as permitted by section 546(b) of the Bankruptcy Code,
which liens in favor of the DIP Agent are junior to such valid, perfected and unavoidable liens.

(d) Liens Senior to Certain Other Liens. The DIP Liens shall not be (a)
subject or subordinate to any lien or security interest that is avoided and preserved for the benefit
of the Debtors and their estates under section $51 of the Bankruptcy Code or any liens arising
after the Petition Date including, without limitation, subject to and effective upon entry of a Final
Order, any liens or security interests granted in favor of any federal, state, municipal or other
governmental unit, commission, board or court for any liability of the Debtors to the extent
permitted by applicable law or (b) subordinated to or made pari passu with any other lien or
security interest under sections 363 or 364 of the Bankruptcy Code or otherwise.

(ec) Notwithstanding anything to the contrary contained herein, the Court
reserves the right to unwind, after notice and a hearing, the DIP Liens, or a portion thereof
(which might include the disgorgement or re-allocation of interest, fees or other consideration
paid in respect thereof) granted to secure any Prepetition Obligations that are converted to DIP
Obligations in accordance with the DIP Documents and this Order or the Final Order, as

applicable, solely in the event that there is a timely successful challenge, pursuant and subject to

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the limitations contained in paragraphs 20 and 21, to the validity, enforceability, extent or
_ perfection of the liens securing the Prepetition Obligations and only to the extent that the Court
finds that, in light of such timely successful challenge, the DIP Liens unduly advantaged the
Prepetition Revolving Lenders and the Prepetition Agent at the expense of other creditors of the
Debtors or their estates. For the avoidance of doubt, the DIP Liens granted to secure any
revolving loans or other extensions of credit made under the DIP Credit Agreement that are not
Prepetition Obligations converted to DIP Obligations shall not be subject to challenge at any
time during the Cases (or any subsequent case) and shall have the protections set forth in this
Order and the DIP Documents regardless of whether there is a timely successful challenges to
the validity, enforceability, extent or perfection of the liens securing the Prepetition Obligations.
12. Protection of DIP Secured Parties’ Rights,

(a) So long as there are any borrowings or letters of credit or other amounts
(other than (A) contingent indemnity obligations as to which no claim has been asserted when all
other amounts have been paid and (B) letters of credit outstanding under the DIP Credit
Agreement which have been cash collateralized or supported with backstop letters of credit in
accordance with the terms of the DIP Credit Agreement) outstanding under the DIP Credit
Agreement, ot the DIP Lenders have any “Commitment” (as defined in the DIP Credit
Agreement), the Prepetition Term Lender, the Prepetition Indenture ‘Trustee and the Prepetition
Secured Noteholders shall (i) take no action to foreclose upon or recover in comection with the
liens granted thereto pursuant to the Prepetition Security Documents, the Prepetition Indenture
(and any security documents related thereto) or this Order, or otherwise exercise remedies

against any DIP Collateral, (ii) be deemed to have consented to any release of Collateral

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authorized under the DIP Documents and (iii) not file any further financing statements,
trademark filings, copyright filings, mortgages, hypothees, fixture filings, deeds of trust, notices
of lien or similar instruments, or otherwise take any action to perfect their security interests in
the Collateral unless, solely as to this clause (iii), the DIP Agent files any financing statement or
other document to perfect the liens granted pursuant to this Order, or as may be required by
applicable state law to continue the perfection of valid and unavoidable liens or security interests
as of the Petition Date.

(b) The automatic stay provisions of section 362 of the Bankruptcy Code are
vacated and modified to the extent necessary to permit the DIP Agent, any DIP Lender and any
other DIP Secured Party to exercise and enforce, upon the occurrence and continuance of an
Event of Default and the giving of five business days’ notice to the Debtors, the Prepetition Term
Lenders and the Prepetition Indenture Trustee (with a copy to lead counsel for the Creditors’
Committee and to the United States Trustee), all rights and remedies against the DIP Collateral
under the DIP Documents (including, without limitation, the right to setoff monies of the Debtors
in accounts maintained with the DIP Agent, any DIP Secured Party or any affiliate thereof). In
any hearing regarding any exercise of rights or remedies, the only issue that may be raised by
any party in opposition thereto shall be whether, in fact, an Event of Default has occurred and is
continuing, and, subject to and effective upon entry of the Final Order, each of the Prepetition
Term Lender, the Prepetition Indenture Trustee and the Prepetition Secured Noteholders hereby
waives its tight to seek relief, including, without limitation, under section 105 of the Bankruptcy

Code, to the extent such relief would in any way impair or restrict the rights and remedies of the

DIP Agent, any DIP Secured Party or any affiliate thereof set forth in this Order or the DIP

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Documents, In no event shall the DIP Agent, the DIP Secured Parties, the Prepetition Agent or
the Prepetition Revolving Secured Parties be subject to the equitable doctrine of “marshaling” or
any similar doctrine with respect to the DIP Collateral or the Prepetition Collateral. The delay or
failure of the DIP Agent or any DIP Secured Party to seek relief or otherwise exercise or enforce
its rights and remedies under the DIP Documents or this Order shall not constitute a waiver of
the DIP Agent’s or any DIP Secured Party’s rights or remedies hereunder, thereunder or
otherwise.

13. The Cash Collateral. To the extent any funds were on deposit with any
Prepetition Secured Party as of the Petition Date, including all funds deposited in, or eredited to,
an account of any Debtor with any Prepetition Secured Party immediately before the Debtors
commenced these Cases (regardless of whether, as of such time, such funds had been collected
or made available for withdrawal by any such Debtor), such funds (the “Deposited Funds”) are
subject to rights of setoff in favor of the Prepetition Secured Parties, By virtue of such setoff
rights, the Deposited Funds are subject to 2 lien in favor of such Prepetition Secured Party,
giving rise to a secured claim pursuant to sections 506(a) and 553 of the Bankruptcy Code, The
Prepetition Secured Parties are obligated, to the extent provided in the Prepetition Loan
Documents, the Prepetition Indenture (and any security documents related thereto) and the
Intercreditor Agreement (together, the “Existing Documents”) to share the benefit of such setoff
rights with the other Prepetition Secured Parties that are party to or are otherwise beneficiaries of
such documents. The Debtors’ cash, including all cash and other amounts on deposit or
maintained in any account subject to a control agreement with the Prepetition Agent (or any

successor or replacement agent thereto) or the Prepetition Indenture Trustee or in the

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concentration accounts maintained with the Prepetition Agent (or any successor or replacement
agent thereto or any of its affiliates) (collectively, the “Collateral Accounts”) and any proceeds
of the Prepetition Collateral (including the Deposited Funds or any other funds on deposit at the
Prepetition Secured Parties or at any other institution as of the Petition Date) are “cash
collateral” of the Prepetition Secured Parties within the meaning of section 363(a) of the |
Bankruptcy Code, The Debtors’ cash, if any, the Deposited Funds, if any, the funds in the
Collateral Accounts, if any, and all such proceeds of Prepetition Collateral, if any, are referred to
herein as “Cash Collateral.”

14. Use af Cash Collateral. The Debtors are authorized to use all Cash Collateral
of the Prepetition Secured Parties during the period from the date of this Order through and
including the “Termination Date” (as defined in the DIP Credit Agreement), provided that the
Prepetition Secured Parties are granted adequate protection as hereinafter set forth. The Debtors’
right to use the Cash Collateral shall terminate automatically on the Termination Date, In
addition, if any Borrower voluntarily terminates the Commitments prior to the “Maturity Date”
(as each such term is defined in the DIP Credit Agreement) and all DIP Obligations are
indefeasibly paid in full in cash (and, with respect to letters of credit outstanding under the DIP
Credit Agreement, cash collateralized or supported with backstop letters of credit in accordance
with the terms of the DIP Credit Agreement), the Debtors shall, for the benefit of the Prepetition
Secured Parties, continue to comply with the requirements of Articles V and VI of the DIP
Credit Agreement and, upon any failure by the Debtors to observe any such requirement or upon
the occurrence of any event that would have constituted an Event of Default under the DIP

Credit Agreement prior to the termination of the Commitments, the Prepetition Agent on behalf

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of the Prepetition Secured Parties shall have the immediate right unilaterally to terminate the
Debtors’ right to use Cash Collateral, Notwithstanding anything to the contrary contained in the
Interim Cash Collateral Order, the Debtors’ right to use Cash Collateral shall be governed by the
terms of this Order from and after the date hereof,

15. Adequate Protection. The Prepetition Secured Parties are entitled, under
sections 361, 363(e) and 364(d)(1) of the Bankruptcy Code, to adequate protection of their
interest in the Prepetition Collateral, including the Cash Collateral, for and equal in amount to
the aggregate diminution in the value of the Prepetition Secured Parties’ interest in the
Prepetition Collateral, including any such diminution resulting from (w) the use of the Cash
Collateral under section 363(c) of the Bankruptcy Code, (x) the sale, lease or use by the Debtors
(or other decline in value) of the Prepetition Collateral, (y) the priming of the Prepetition Secured
Parties’ security interests and liens in the Prepetition Collateral by the DIP Agent and the DIP
Secured Parties pursuant to the DIP Documents and this Order and (z) the imposition of the
automatic stay under section 362 of the Bankruptcy Code (the amount of any such diminution

being referred to hereinafter as the “Adequate Protection Obligations”). As adequate
protection, the Debtors hereby grant the following:

(a) Adequate Protection Liens. The Prepetition Agent (for itself and the
ratable benefit of the Prepetition Revolving Secuted Parties and the Prepetition Term Lender)
and the Prepetition Indenture Trustee (for the ratable benefit of the Prepetition Secured
Noteholders) are hereby granted (effective and perfected as of the Petition Date and without the
necessity of the execution by the Debtors of security agreements, pledge agreements, fixture

filings, mortgages, hypothecs, deeds of trust, control agreements, financing statements or other

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agreements) a valid, binding, enforceable and perfected replacement security interest in, and lien
on, all of the DIP Collateral, subject and subordinate only to (i) the DIP Liens and liens on the
DIP Collateral that are senior to, or pari passu with, the DIP Liens and (ii) the Carve Out (the
“Adequate Protection Liens”). The Adequate Protection Liens granted hereunder shall be
junior to the DIP Liens. The Adequate Protection Liens granted hereunder to the Prepetition
Indenture Trustee, for the ratable benefit of the Prepetition Secured Noteholders, shall be
immediately junior in priority and subject to the Adequate Protection Liens granted to the
Prepetition Agent, for the ratable benefit of the Prepetition Revolving Secured Parties and the
Prepetition Term Lenders, and the Adequate Protection Liens granted hereunder to the
Prepetition Secured Parties shall otherwise rank in the same relative priority and right (including
with respect to payment of distributions) both as among the Prepetition Lenders and vis-a-vis the
Prepetition Secured Noteholders as such parties’ respective prepetition liens and security
interests do with respect to the Prepetition Collateral as of the Petition Date under the Prepetition
Loan Documents, the Prepetition Indenture (and any security documents related thereto) and the
Intercreditor Agreement, including, for the avoidance of doubt, with respect to those terms of'the
Prepetition Loan Documents that provide that the Prepetition Term Lender, the Prepetition
Indenture Trustee and the Prepetition Secured Noteholders shall have no right to seek or exercise
any rights or remedies in respect of the Adequate Protection Liens granted herein (whether in
these Cases or any subsequently converted cases) until all DIP Obligations owing to the DIP
Agent, the DIP Secured Parties and their respective affiliates and all Adequate Protection

Obligations owing to the Prepetition Agent, the Prepetition Revolving Secured Parties and their

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affiliates have been indefeasibly paid in full in accordance with the DIP Documents, the
Prepetition Loan Documents and this Order;

(6) Section 507(b) Claim. The Prepetition Agent and the Prepetition
Revolving Secured Parties (and their affiliates) are hereby granted, subject to the payment of the
Carve Out on the terms specified herein and the Superpriority Claims granted herein, a
superpriority claim as provided for in section 507(b) of the Bankruptcy Code (the “507(b)
Claims”) with priority in payment over any and all administrative expenses of the kinds
specified or ordered under any provision of the Bankruptcy Code, including sections 105, 326,
328, 330, 331, 503, 507(a), 726, 1113 or 1114 of the Bankruptcy Code, and shall at all times be
senior to the rights of the Debtors, any successor trustee or any creditor, in these Cases or, to the
extent permitted by applicable law, any subsequent proceedings under the Bankruptcy Code.
Except for the Carveout and, subject to entry of a Final Order with respect to section 506(c), the
Superpriority Claims granted to the DIP Agent and the DIP Secured Parties under paragraph
10(a), subject to entry of a Final Order, no cost or expense of administration under sections 105,
503(b), 507(b) or otherwise, including any such cost or expense resulting from the conversion of
these Cases under section 1112 of the Bankruptcy Code, shall be senior to, or pari passu with,
the 507(b) Claims of the Prepetition Agent and the Prepetition Revolving Secured Parties (and
their affiliates); and

(c) Interest, Fees and Expenses. The Prepetition Agent (for the benefit of the
Prepetition Revolving Secured Parties) shall receive from the Debtors (i) on the Effective Date,
payment of all accrued and unpaid interest on the Prepetition Obligations at the applicable rates

specified under the Interim Cash Collateral Order, all accrued and unpaid letter of credit fees at

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the applicable rates specified under the Interim Cash Collateral Order, all accrued and unpaid
interest on the Cash Collateral Loans outstanding under the Interim Cash Collateral Order at the
rates specified therein and all other accrued and unpaid fees and disbursements incurred before
the Effective Date (including, but not limited to, fees owed to the Prepetition Agent for its
counsel and financial advisors) owing under the Prepetition Loan Documents or any
unterminated Swap Agreement (as defined in the Prepetition Credit Agreement), (ii) from time to
time after the Effective Date, current cash payment of all fees and expenses payable to the
Prepetition Agent, the Prepetition Revolving Secured Parties, the issuing bank or any of their
respective affiliates under the Prepetition Loan Documents or any unterminated Swap
Agreement, including the reasonable fees and disbursements of counsel, financial advisors and
other consultants for the Prepetition Agent or the Prepetition Revolving Lenders, promptly upon
receipt of invoices therefor and (iii) on the first business day of each month, current cash
payment of (x) all accrued and unpaid postpetition interest on the Prepetition Obligations at the
rate equal to the Alternate Base Rate (as defined in the DIP Credit Agreement) plus 9.00% per
annum and (y) letter of credit and other fees at the contract rates applicable under the DIP Credit
Agreement, subject in each case to the Prepetition Agent’s and Prepetition Revolving Secured
Parties’ reservation of their rights to assert claims for the payment of any other amounts provided
for in the Prepetition Loan Documents and without prejudice to the rights of any other party to
contest such assertion. The Prepetition Term Lender shall receive from the Debtors on the first
business day of each month, current cash payment of (i) the reasonable legal fees, disbursements
and expenses of legal counsel for the Prepetition Term Lender incurred in connection with

monitoring the Cases or the protection of the rights and interests of the Prepetition Term Lender

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under the Prepetition Loan Documents and (ii) other reimburseable expenses of the Prepetition
Term Lender under the Prepetition Credit Agreement: provided, however, that the aggregate
amount of fees, disbursements and expenses payable to the Prepetition Term Lender pursuant to
this sentence shall not exceed $25,000 per calendar month; provided further, that the rights of
any party to assert that any such amounts paid pursuant to this sentence should be
recharacterized as payments on account of the principal amount of the Prepetition Term
Obligations outstanding as of the Petition Date are hereby fully preserved, None of the fees,
costs and expenses payable under this paragraph shall be subject to separate or prior approval by
this Court (but the Court shall resolve any dispute as to the reasonableness of any such fees, costs
and expenses), and no recipient of any such payment shall be required to file any motion or
interim or final fee application with respect thereto. Nothing contained herein shall be deemed to
be a waiver by any party in interest of the right to object to the reasonableness of any fees, costs
and charges incurred by the Prepetition Revolving Secured Parties, the Prepetition Term Lender
or the Prepetition Agent. The Debtors shall provide to the Creditors’ Committee and the Office
of the United States Trustee, immediately upon receipt thereof, a copy of the monthly invoices
for the Prepetition Agent’s professionals and for the fees and expenses requested by the
Prepetition Term Lender, and the Debtors are authorized and directed to make payment to the

_ professional retained by the Prepetition Agent or the Prepetition Term Lender (or its counsel)
unless, within ten days after receipt of the invoice by the Debtors, a written objection has been
received by the Debtors and the applicable professional retained by the Prepetition Agent or the
Prepetition Term Lender (or its counsel), as the case may be, in which case the Debtors are

hereby authorized and directed to make payment on account of any amounts which are not

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clearly identified as being contested in such written objection and, upon resolution of such
objection, the remaining unpaid amounts that have been agreed or ordered to be paid.

16. Limitation on Charging Expenses Against Collateral, Subject only to and
effective upon entry of the Final Order, except to the extent of the Carve Out, no expenses of
administration of the Cases or any future proceeding that may result therefrom, including
liquidation in bankruptcy or other proceedings under the Bankruptcy Code, shall be charged
against or recovered from the Prepetition Collateral or DIP Collateral under section 506(c) of the
Bankruptcy Code ot any similar principle of law, without the prior written consent of the DIP
Agent and the Prepetition Agent, and no such consent shall be implied from any other action,
inaction, or acquiescence by the DIP Agent, the DIP Secured Parties, the Prepetition Agent or the
Prepetition Revolving Secured Parties.

17. Reservation of Rights af the Prepetition Secured Parties, The Court finds that
the adequate protection provided herein is reasonable and sufficient under the circumstances to
protect the interests of the Prepetition Secured Parties. Notwithstanding any other provision, the
grant of adequate protection to the Prepetition Secured Parties is without prejudice to the
Prepetition Agent’s right to request any modification of, or further or different, adequate
protection, and the Debtors’ or any other party’s objection to any such request; provided that any
such further or different adequate protection shall at all times be subordinate and junior to the
claims and liens of the DIP Agent and the DIP Secured Parties granted under this Order and the

DIF Documents.

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18. Perfection of DIP Liens and Adequate Protection Liens.

(a) The DIP Agent and the Prepetition Agent are hereby authorized, but not
required, to file or record financing statements, trademark filings, copyright filings, mortgages,
hypothecs, fixture filings, deeds of trust, notices of lien or similar instruments in any jurisdiction,
or take possession of or control over, or take any other action in order to validate and perfect the
liens and security interests granted to them hereunder, The DIP Liens and Adequate Protection
Liens granted under this Order shall constitute valid and duly perfected security interests and
liens, and the DIP Secured Parties and the Prepetition Secured Parties are hereby not required to
file or record financing statements, trademark filings, copyright filings, mortgages, hypothecs,
fixture filings, deeds of trust, notices of lien or similar instruments which otherwise may be
required under federal or state law in any jurisdiction, or take any action, including taking
possession, to validate and perfect such security interests and liens, and such liens and security
interests shall be deemed valid, perfected, allowed, enforceable, non-avoidable and not subject to
challenge dispute or subordination, as of the Effective Date, The failure of the Debtors to
execute any documentation relating to the enforceability, priority or perfection of the DIP Liens
ot Adequate Protection Liens shall in no way affect the validity, perfection or priority of the DIP
Liens or Adequate Protection Liens, as applicable.

(b) | If the Prepetition Agent (on behalf of the Prepetition Revolving Secured
Parties) or the DIP Agent (on behalf of the DIP Secured Parties), in their individual and sole
discretion, elects to file any financing statements, trademark filings, copyright filings, mortgages,
_ hypothecs, fixture filings, deeds of trust, notices of lien or similar instruments, or otherwise to

confirm perfection of such DIP Liens or Adequate Protection Liens, the Debtors shall cooperate

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with and assist in such process, the stay imposed under section 362 of the Bankruptcy Code is
hereby lifted to permit the filing and recording of a certified copy of this Order or any such
financing statements, trademark filings, copyright filings, mortgages, hypothecs, fixture filings,
deeds of trust, notices of lien or similar instruments, and all such documents shall be deemed to
have been filed and recorded at the time of and on the Effective Date. Any error, omission or
other defect in any such filing shall not affect the validity, enforceability, priority or perfection of
any DIP Lien or Adequate Protection Lien granted under this Order.

| (c)  Acertified copy of this Order may, in the discretion of the Prepetition
Agent (on behalf of the Prepetition Revolving Secured Parties) or the DIP Agent (on behalf of
the DIP Secured Parties), be filed with or recorded in filing or recording offices in addition to or
in lieu of such financing statements, mortgages, hypothecs, fixture filings, deeds of trust, notices
of Hien or similar instruments, and all filing offices are hereby authorized to accept such certified
copy of this Order for filing and recording.

19. Preservation of Rights Granted Under the Order.

(a) No claim or lien having a priority superior to or pari passu with those
granted by this Order to the DIP Agent, the DIP Secured Parties, the Prepetition Agent or the
Prepetition Revolving Secured Parties shall be granted or allowed while any portion of the
Financing (or any refinancing thereof) or the Commitments thereunder or the DIP.Obligations or
the Adequate Protection Obligations remain outstanding (or, with respect to any letters of oredit
outstanding under the DIP Credit Agreement, such letters of credit are neither cash collateralized
nor supported with a backstop letters of credit in accordance with the terms of the DIP Credit

Agreement), Except as otherwise provided in this Order, the Adequate Protection Liens shall not

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be (i) subject or junior to any lien or security interest that is avoided and preserved for the benefit
of the Debtors’ estates under section 551 of the Bankruptcy Code or (y) subordinated to or made
pari passu with any other lien or security interest, whether under sections 363 or 364 of the
Bankruptcy Code or otherwise.

(6) Unless all DIP Obligations shall have been indefeasibly paid in full and all
Commitments terminated (and, with respect to letters of credit outstanding under the DIP Credit
Agreement, cash collateralized or supported with backstop letters of credit in accordance with
the terms of the DIP Credit Agreement), ail Prepetition Obligations shall have been indefeasibly
paid in full, and the Adequate Protection Obligations shall have been indefeasibly paid in full,
the Debtors shall not seek (i) any order modifying or extending this Order without the prior
written consent of the DIP Agent (or, to the extent the DIP Obligations shall have been
indefeasibly paid in cash in full (and, with respect to letters of credit outstanding under the DIP
Credit Agreement, cash collateralized or supported with backstop letters of credit in accordance
with the terms of the DIP Credit Agreement) and the Commitments shall have been terminated,
the Prepetition Agent) and no such consent shall be implied by any other action, inaction or
acquiescence, (ii) any order modifying or extending this Order adversely affecting the adequate
protection provided to the Prepetition Secured Parties without the prior written consent of the
Prepetition Secured Parties or (iii) an order converting or dismissing any of the Cases. If an
order dismissing any of the Cases under section 1112 of the Bankruptcy Code or otherwise is at
any time entered, such order shall provide (in accordance with sections 105 and 349 of the
Bankruptcy Code) that (i) the Superpriority Claims, the 507(b) Claims, DIP Liens and Adequate

Protection Liens granted to the DIP Agent and the DIP Secured Parties and, as applicable, the

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Prepetition Secured Parties pursuant to this Order shall continue in full force and effect and shall
maintain their priorities as provided in this Order until all DIP Obligations, Prepetition
Obligations and Adequate Protection Obligations shall have been indefeasibly paid in cash and
satisfied in full (and, with respect to letters of credit outstanding under the DIP Credit
Agreement, cash collateralized or supported with backstop letters of credit in accordance with
the terms of the DIP Credit Agreement) and the Commitments shall have been terminated (and
that such Superpriority Claims, 507(b) Claims, DIP Liens and Adequate Protection Liens remain
binding on all parties in interest) and (ii) this Court shall retain jurisdiction, notwithstanding such
dismissal, for the purposes of enforcing the claims, liens and security interests referred to in (1)
above, to the fullest extent authorized by statute.

(c) If any or all of the provisions of this Order are hereafter reversed,
modified, vacated or stayed, such reversal, modification, vacatur or stay shall not affect (i) the
validity, priority or enforceability of any DIP Obligations or any Adequate Protection
Obligations incurred prior to the actual receipt of written notice by the DIP Agent, the
Prepetition Agent or the Prepetition Indenture Trustee, as applicable, of the effective date of such.
reversal, modification, vacatur or stay or (ii) the validity or enforceability of any lien or priority
authorized or created hereby or pursuant to the DIP Credit Agreement with respect to any DIP
Obligations or Adequate Protection Obligations. Notwithstanding any such reversal,
modification, vacatur or stay, any use of Cash Collateral, or DIP Obligations or Adequate
Protection Obligations incutred by the Debtors to the DIP Agent, the DIP Secured Parties or the
Prepetition Secured Parties prior to the actual receipt of written notice by the DIP Agent, the

Prepetition Agent or the Prepetition Indenture Trustee, as applicable, of the effective date of such

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reversal, modification, vacatur or stay shall be governed in all respects by the original provisions
of this Order, and the DIP Agent, the DIP Secured Parties and the Prepetition Secured Parties
shall be entitled to all the rights, remedies, privileges and benefits granted in sections 363(m) and
364(e) of the Bankruptcy Code and this Order with respect to all uses of Cash Collateral, DIP
Obligations and Adequate Protection Obligations.

(d) Except as expressly provided in this Order or the DIP Documents, the DIP
Liens, the Adequate Protection Liens, the Superpriority Claims, the 507(b) Claims, the DIP
Obligations, the Adequate Protection Obligations and all other rights and remedies of the DIP
Agent, the DIP Secured Parties and the Prepetition Secured Parties granted by the provisions of
this Order shall survive, and shall not be modified, impaired or discharged by (i) the entry of an |
order converting any of the Cases to a case under chapter 7, dismissing any of the Cases,
terminating the joint administration of the Cases or by any other act or omission or (ii) the entry
of an order confirming a plan of reorganization in any of the Cases and, pursuant to section
1141(d\(4) of the Bankruptcy Code, the Debtors have waived any discharge as to any remaining
DIP Obligations pursuant to the Financing. The terms and provisions of this Order shall
continue in these Cases, in any successor cases if these Cases cease to be jointly administered, or
in any superseding chapter 7 cases under the Bankruptcy Code, and the DIP Liens, the Adequate
Protection Liens, the Superpriority Claims, the 507(b) Claims, the DIP Obligations, the Adequate
Protection Obligations and all other rights and remedies of the DIP Agent, the DIP Secured
Parties and the Prepetition Secured Parties granted by the provisions of this Order shall continue
in full force and effect until the DIP Obligations are indefeasibly paid in full (and, with respect to

letters of credit outstanding under the DIP Credit Agreement, cash collateralized or supported

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with backstop letters of credit in accordance with the terms of the DIP Credit Agreement), the
Commitments are terminated and the Adequate Protections Obligations are indefeasibly paid in
- Full.

20, Effect of Stipulations on Third Parties. The stipulations and admissions
contained in this Order, including in paragraph 6 of this Order, shall be binding upon the Debtors
and any successor thereto (including any chapter 7 or chapter 11 trustee appointed or elected in
any of the Cases) in all circumstances, unless a chapter 7 or chapter 11 trustee is appointed or
elected during the Investigatory Period (as defined below). The stipulations and admissions
contained in this Order, including in paragraph 6 of this Order, shall be binding upon all other
parties in interest, including the Creditors’ Committee, unless (a) a party in interest, including
any subsequently appointed chapter 7 or chapter 11 trustee and the Creditors’ Committee, has
timely filed an adversary proceeding or contested matter (subject to the limitations contained
herein, including, inter alia, in paragraph 21) by no later than the date that is 60 days after the
entry of this Order (or such later date (x) as has been agreed to, in writing, (A) with respect to
such adversary proceedings or contested matters relating to the Prepetition Obligations ot the
Prepetition Agent’s or the Prepetition Revolving Secured Parties’ liens on the Prepetition
Collateral, by the Prepetition Agent in its sole discretion or (B) with respect to such adversary
proceedings or contested matters relating solely to the Prepetition Term Obligations or the
Prepetition Term Lender’s liens on the Prepetition Collateral, by the Prepetition Term Lender in
its sole discretion, or (y) as has been ordered by the Court for good cause shown) (such period,
the “Investigatory Period”) (i) challenging the validity, enforceability, priority or extent of the

Prepetition Obligations, the Prepetition Term Obligations or the Prepetition Agent’s, the

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Prepetition Revolving Secured Parties’ or the Prepetition Term Lender's liens on the Prepetition
Collateral or (ii) otherwise asserting or prosecuting any Avoidance Action or any other any
claims, counterclaims or causes of action, objections, contests or defenses (collectively, “Claims
and Defenses’) against the Prepetition Agent, the Prepetition Term Lender or any of the
Prepetition Revolving Secured Parties or their affiliates, subsidiaries, members, representatives,
attorneys or advisors in connection with matters related to the Prepetition Loan Documents, the
Prepetition Obligations, the Prepetition Term Obligations or the Prepetition Collateral, as
applicable, and (b) there is a final order in favor of the plaintiff sustaining any such challenge or
claim in any such timely filed adversary proceeding or contested matter, Ifno such adversary
proceeding or contested matter is timely filed, (x) the Prepetition Obligations and Prepetition
Term Obligations shall constitute allowed secured claims in the amounts set forth in paragraph 6
of this Order, not subject to counterclaim, setoff, subordination, recharacterization, defense or
avoidance, for all purposes in the Cases and any subsequent chapter 7 cases, (y¥) the Prepetition
Agent’s, the Prepetition Revolving Secured Parties’ and the Prepetition Term Lender's liens on
the Prepetition Collateral shall be deemed to have been, as of the Petition Date, enforceable,
legal, valid, binding and perfected, and having the priority set forth in patagraph 6, not subject to
recharacterization, subordination or avoidance and (z) the Prepetition Obligations and the
Prepetition Term Obligations, the Prepetition Agent’s, the Prepetition Revolving Secured
Parties’ and the Prepetition Term Lender’s liens on the Prepetition Collateral and the Prepetition
Agent, the Prepetition Revolving Secured Parties and the Prepetition Term Lender shall not be
subject to any other or further challenge by any party in interest seeking to exercise the rights of

the Debtors’ estates, including any estate representative or any other successor to the Debtors

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(including any chapter 7 or 1] trustee appointed or elected for any of the Debtors). If any such
adversary proceeding or contested matter is timely filed, the stipulations and admissions
contained in paragraph 6 of this Order shall nevertheless remain binding and preclusive (as
provided in the second sentence of this paragraph) on any official committee (including the
Creditors’ Committee) and on any other person or entity, except to the extent that such findings
and admissions were expressly challenged in such adversary proceeding or contested matter.
Except for the statutory rights of any chapter 11 or chapter 7 trustee, nothing in this Order vests
or confers on any Person (as defined in the Bankruptcy Code), including the Creditors’
Committee, standing or authority to pursue any cause of action belonging to the Debtors or their
estates, including Claims and Defenses with respect to the Prepetition Loan Documents or the
Prepetition Obligations or Prepetition Term Obligations.

21. Limitation on Use of Collateral, The Debtors have waived any and all claims
and causes of action against the DIP Agent and the DIP Secured Parties and their respective
agents, affiliates, subsidiaries, directors, officers, representatives, attorneys or advisors, directly
related to the Financing, this Order or the negotiation of the terms thereof. Notwithstanding
anything herein or in any other order by this Court to the contrary, no borrowings, proceeds of
letters of credit under the DIP Credit Agreement, Cash Collateral, DIP Collateral or the Carve
Out may be used for any of the following without the prior written consent of each affected
party: (a) to object, contest or raise any defense to, the validity, perfection, priority, extent or
enforceability of any amount due under this Order, the DIP Documents, the Prepetition Loan
Documents, or the liens or claims granted under this Order, the DIP Documents or the

Prepetition Loan Documents, (b) to assert any Claims or Defenses or causes of action against the

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DIP Agent, the Prepetition Agent, the Prepetition Term Lender or the Prepetition Revolving
Secured Parties or their respective agents, affiliates, subsidiaries, directors, officers,
representatives, attorneys or advisors, (c) to prevent, hinder or otherwise delay the DIP Agent's
or the Prepetition Agent’s assertion, enforcement or realization on the Cash Collateral or the DIP
Collateral in accordance with the DIP Documents, the Prepetition Loan Documents or this Order,
(d) to seek to modify any of the rights granted to the DIP Agent, the DIP Secured Parties, the
Prepetition Agent, the Prepetition Term Lender or the Prepetition Revolving Secured Parties
hereunder or under the DIP Documents or the Prepetition Loan Documents or (e) pay any
amount on account of any claims arising before the Petition Date unless such payments are
approved by an Order of this Court; provided that up to $50,000 of Cash Collateral and proceeds
of the Financing in the aggregate may be used to pay the allowed fees and expenses of
professionals retained by the Creditors’ Committee incurred directly in connection with

- investigating, but not initiating or prosecuting, any Claims and Defenses against the Prepetition
Agent, the Prepetition Term Lender or the Prepetition Revolving Secured Parties.

22, JPMorgan as DIP Agent, To the extent that any Prepetition Agent (or any
predecessor, bailee, agent or designee thereof) is the secured party under any account control
agreement, listed as loss payee under the Debtors’ insurance policies as required under the
Prepetition Credit Agreement or is the secured party under any other Prepetition Loan
Document, JPMorgan, in its role as DIP Agent, is also deemed to be the secured party under such
account control agreement, loss payee under the Debtors’ insurance policies and the secured
party under any other Prepetition Loan Document, shall have all rights and powers associated

with that position (including, without limitation, rights of enforcement) and shall act in that

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capacity and distribute any proceeds recovered or received in accordance with the DIP
Documents and this Order, The Prepetition Agent (and any predecessor, bailee, agent or
designee thereof) shall serve as agent and bailee for the DIP Agent for purposes of perfecting the
DIP Liens and the Adequate Protection Liens on all DIP Collateral that is of a type such that
perfection of a security interest therein may be accomplished only by possession or control by a
secured party.

23. Priority Among Prepetition Secured Parties. Notwithstanding anything to the
contrary herein or in any other order of this Court, in determining the relative priorities and
rights of the Prepetition Secured Parties (including, without limitation, the relative priorities and
rights of the Prepetition Secured Parties with respect to the adequate protection granted
hereunder), such relative priorities and rights shail continue to be governed by the Prepetition
Loan Documents, the Prepetition Indenture (and any security documents related thereto) and the
Intercreditor Agreement, and the adequate protection rights granted hereunder to each Prepetition
Secured Party shall have the same relative seniority and priority vis-a-vis the adequate protection
rights granted to each other Prepetition Secured Party as the pre-petition claims of such
Prepetition Secured Party have relative to the prepetition claims of such other Prepetition
Secured Party (taking into consideration whether such claims are secured and the entity against
| which such claims are held or not held). Notwithstanding anything to the contrary herein or in
any other order of this Court, (i) each of the Prepetition Agent and the Prepetition Term Lender
acknowledge and agree that the intercreditor provisions of the Prepetition Credit Agreement,
including, without limitation, sections 9.24 and 9.25 of the Prepetition Credit Agreement and (ii)

each of the Prepetition Agent and the Prepetition Indenture Trustee (on behalf of the Prepetition

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Secured Noteholders) acknowledge and agree that the terms and conditions of the Intercreditor
Agreement, in each case remain in full force and effect and constitute the enforceable, valid and
binding obligations of the Prepetition Agent, the Prepetition Term Lender, the Prepetition
Revolving Lenders and the Prepetition Indenture Trustee (on behalf of the Prepetition Secured
Noteholders), as applicable, under section 510(a) of the Bankruptcy Code; provided that the
Prepetition Indenture Trustee (on behalf of the Prepetition Secured Noteholders) reserves its
rights under the Intercreditor Agreement arising from a breach, if any, of the Intercreditor
Agreement,. Nothing contained herein shall modify or alter the voting or consent provisions
contained in the DIP Credit Agreement.

24. Order Governs. In the event of any inconsistency between the provisions of
this Order and the DIP Documents, the provisions of this Order shall govern.

25. Binding Effect; Successors and Assigns. The provisions of this Order,
including all findings herein, shall be binding upon all parties in interest in these Cases,
including the Prepetition Agent, the Prepetition Revolving Secured Parties, the other Prepetition
Secured Parties, the Creditors’ Committee, and the Debtors and their respective successors and
assigns (including any chapter 7 or chapter 11 trustee hereinafter appointed or elected for the
estate of any of the Debtors) and shall inure to the benefit of the Prepetition Agent, the
Prepetition Revolving Secured Parties and the Debtors and their respective successors and
assigns: provided that the Prepetition Agent and the Prepetition Revolving Secured Parties shall
have no obligation to extend any financing to any chapter.7 trustee or similar responsible person

appointed for the estates of the Debtors.

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26. Final Hearing. The Final Hearing shall be held on April 27, 2009 at 2:00 p.m.
(prevailing Eastern time) before this Court.

The Debtors shall promptly mail copies of this Order (which shall constitute adequate
notice of the Final Hearing, including without limitation, notice that the Debtors will seek
approval at the Final Hearing of (i) a waiver of rights under section 506(c) of the Bankruptcy
Code, (ii) to grant a lien on proceeds of Avoidance Actions and (iii) authority to convert the
Prepetition Obligations to DIP Obligations) to the parties having been given notice of the Interim
Hearing, to any other party that has filed a request for notices with this Court and to the
Creditors’ Committee, or its lead counsel, if the same shall have been employed. Any party in
interest objecting to the relief sought at the Final Hearing shall serve a written objection upon
Young Conaway Stargatt & Taylor, LLP, The Brandywine Building, 1000 West Street, 17th
Floor, Wilmington, Delaware 19801, Attention: Michael Nestor, attorneys for the Debtors;
Cravath, Swaine & Moore LLP, Worldwide Plaza, 825 Eighth Avenue, New York, New York
10019, Attention: Robert Trust, and Landis, Rath & Cobb LLP, 919 Market Street, Suite 1800,
Wilmington, Delaware 19899, Attention: Adam Landis and Matthew McGuire, attorneys for
JPMorgan Chase Bank, N.A., as Prepetition Agent; and the Office of the United States Trustee
for the District of Delaware, and shall file the objection with the Clerk of the United States
Bankruptcy Court, District of Delaware, in each case to allow actual receipt by the foregoing no

later than April 20, 2009 at 4:00 p.m. (prevailing Eastern time).

Dated: April , 2009

Wilmington, Delaware ° Chan { SS fh, Sdedr

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